        Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 1 of 39



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


ARKANSAS TEACHER RETIREMENT SYSTEM,
on behalf of itself and all others similarly situated,

                                      Plaintiff,
                                                         No. 11-cv-10230 MLW
v.

STATE STREET BANK AND TRUST COMPANY,

                                      Defendant.

ARNOLD HENRIQUEZ, MICHAEL T. COHN, WILLIAM R.
TAYLOR, RICHARD A. SUTHERLAND, and those similarly
situated,

                                      Plaintiffs,
                                                         No. 11-cv-12049 MLW
v.

STATE STREET BANK AND TRUST COMPANY,

                                      Defendant.

THE ANDOVER COMPANIES EMPLOYEE SAVINGS AND
PROFIT SHARING PLAN, on behalf of itself, and JAMES
PEHOUSHEK-STANGELAND, and all others similarly
situated,

                                      Plaintiffs,        No. 12-cv-11698 MLW
v.

STATE STREET BANK AND TRUST COMPANY,

                                      Defendant.


                    SUBMISSION OF LABATON SUCHAROW LLP
                IN RESPONSE TO THE COURT’S JUNE 28, 2019 ORDER
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 2 of 39



                                                 TABLE OF CONTENTS

                                                                                                                                       Page

I.     Introduction ......................................................................................................................... 1

II.    20-30% of the Common Fund is the Reasonable Fee Award Range .................................. 2

       A.         Courts Within the First Circuit Have Endorsed a Range of 20-30%, and
                  Have Not Applied the Sliding Scale Approach ...................................................... 2

       B.         This Court Should Not Apply the Sliding Scale Approach .................................... 3

III.   Public Policy Supports the 25% Fee Award ....................................................................... 9

IV.    Customer Class Counsel Did Not Misrepresent the Fitzpatrick Study ............................. 12

V.     The Court Should Decline To Exercise Its Discretion To Allocate the Fee Award ......... 15

       A.         The Court Should Enforce Counsel’s Fee-Sharing Agreements .......................... 15

       B.         If The Court Does Allocate Fees, It Should Allocate Them According to
                  the Agreed-Upon Percentages............................................................................... 17

VI.    Labaton Complied With The Applicable Rules of Professional Conduct and the
       Federal Rules of Civil Procedure ...................................................................................... 20

       A.         The Chargois Agreement Met the Existing Requirements of the
                  Massachusetts Rules of Professional Conduct ...................................................... 21

                  1.         Labaton Complied with MRPC 1.5(e). ..................................................... 21

                  2.         The Chargois Agreement Is Encompassed in Rule 1.5(e). ....................... 24

                  3.         Rule 7.2(b) Does Not Apply. .................................................................... 26

       B.         Labaton’s Nondisclosure of the Chargois Agreement to the Court Did Not
                  Violate The Federal Rules of Civil Procedure ...................................................... 28

                  1.         The Federal Rules of Civil Procedure Did Not Require the
                             Disclosure to the Court of Fee Allocation Agreements. ........................... 28

                  2.         Labaton Did Not Violate A Duty of Candor to the Court......................... 29

       C.         Ethical Rules and Best Practices ........................................................................... 32

VII.   Conclusion ........................................................................................................................ 33




                                                                    i
           Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 3 of 39



                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Almendarez-Torres v. United States,
   523 U.S. 224 (1998) .................................................................................................................26

In re Bank of N.Y. Mellon Corp. Forex Transactions Litigation,
    12-MD-2335, (S.D.N.Y.) .........................................................................................................12

Bezdek v. Vibram USA Inc.,
   79 F. Supp. 3d 324 (D. Mass. 2015) (1st Cir. 2015)..................................................................2

Conley v. Sears, Roebuck & Co.,
   222 B.R. 181 (D. Mass. 1998) ...................................................................................................3

In re Copley Pharm., Inc.,
    50 F. Supp. 2d 1141 (D. Wyo. 1999) .......................................................................................16

Daynard v. Ness, Motely, Loadholt, Richardson & Poole, P.A.,
   188 F. Supp. 2d 115 (D. Mass. 2002) ......................................................................................26

In re Discipline of an Atty.,
    442 Mass. 660 (2004) ..............................................................................................................31

In re Domestic Air Transp. Antitrust Litig.,
    148 F.R.D. 297 (N.D. Ga. 1993)..............................................................................................15

Feeney v. Dell,
   454 Mass. 192 (2009) ..............................................................................................................10

In re FPI/Agretech Sec. Litig.,
    105 F.3d 469 (9th Cir. 1997) ...................................................................................................16

Goldberger v. Integrated Res.,
   209 F.3d 43 (2d Cir. 2000).........................................................................................................9

Hartless v. Clorox,
   273 F.R.D. 630 (S.D. Cal. 2011) .............................................................................................28

Holstein v. Grossman,
   246 Ill. App. 3d 719 (1993) .....................................................................................................27

In re Indigo Sec. Litig.,
    995 F. Supp. 233 (D. Mass. 1998) ...........................................................................................15




                                                                    i
           Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 4 of 39



Klein v. Bain Capital Partners, LLC,
   No. 1:07-cv-12388-WGY (D. Mass. Nov. 12, 2014) ........................................................2, 7, 8

LandAmerica 1031 Exch. Servs. v. Chandler,
   No. MDL No. 2054, 2012 U.S. Dist. LEXIS 159630 (D.S.C. Nov. 7, 2012) .........................16

Latorraca v. Centennial Techs., Inc.,
   834 F. Supp. 2d 25 (D. Mass. 2011) ..........................................................................................2

Long v. HSBC USA Inc.,
   14-cv-6233, 2016 U.S. Dist. LEXIS 124199 (S.D.N.Y. Sept. 13, 2016) ................................11

Longden v. Sunderman,
   979 F.2d 1095 (5th Cir. 1992) .................................................................................................15

In re Lupron Mktg. & Sales Practices Litig.,
    No. 01-CV-10861-RGS, 2005 U.S. Dist. LEXIS 17456 (D. Mass. Aug. 17,
    2005) ................................................................................................................................ passim

In re Neurontin Mktg. & Sales Practices Litig.,
    58 F. Supp. 3d 167 (D. Mass. 2014) ....................................................................................3, 10

O’Connell v. Shalala,
   79 F.3d 170 (1st Cir. 1996) ......................................................................................................25

In re Polyurethane Foam Antitrust Litig.,
    168 F. Supp. 3d 985 (N.D. Ohio 2016)..............................................................................15, 16

In re Relafen Antitrust Litigation,
    231 F.R.D. 52 (D. Mass. 2005) ..................................................................................................7

Saggese v. Kelley,
   445 Mass. 434 (2005) ...................................................................................................... passim

In re Subway Footlong Sandwich Mktg. & Sales Practices Litig.,
    316 F.R.D. 240, 253 (E.D. Wis. 2016) ....................................................................................16

In re Tyco Int’l, Ltd.,
    535 F. Supp. 2d 249 (D.N.H. 2007) ................................................................................. passim

United States v. One Star Class Sloop Sailboat,
   546 F.3d 26 (1st Cir. 2008) ......................................................................................................18

Vita v. Berman, DeValerio & Pease, LLP,
    81 Mass. App. Ct. 748 (2012) ..................................................................................................24

In re Volkswagen & Audi Warranty Extension Litig.,
    89 F. Supp. 3d 155 (D. Mass. 2015) ..................................................................................15, 16



                                                                       ii
           Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 5 of 39



In re Warfarin Sodium Antitrust Litig.,
    391 F.3d 516 (3d Cir. 2004).....................................................................................................15

Rules

Fed. R. Civ. P. 23 ................................................................................................................... passim

Fed. R. Civ. P. 54 ...............................................................................................................27, 28, 29

Mass. R. Prof. C. 1.5(e) ........................................................................................................... passim

Mass. R. Prof. C. 7.2(b).................................................................................................20, 25, 26, 27

Mass R. Prof. C. 3.3(a) ..................................................................................................................30

Mass. R. Prof. C. 8.4(c) .................................................................................................................30

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    Fee Awards ................................................................................................................................1

Matthew Goldstein, Law Firm’s Fee Settlement Could Shake Up Securities Class
   Actions, N.Y. TIMES (Oct. 10, 2018) ........................................................................................11

Theodore Eisenberg, Geoffrey Miller, et al., Attorneys’ Fees in Class Actions:
   2009-2013, 92 N.Y.U. L. Rev. 937, 967 tbl.13 (2017) ..............................................................7

Theodore Eisenberg & Geoffrey P. Miller, Attorney Fees and Expenses in Class
   Action Settlements: 1993-2008 ..................................................................................................7

William B. Rubenstein, 5 Newberg on Class Actions (5th ed. 2015) .................................... passim




                                                                      iii
           Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 6 of 39



I.         Introduction.

           Labaton Sucharow LLP (“Labaton”) submits this memorandum in response to the

Court’s June 28, 2019 Order (ECF No. 564), and in light of the June 24-26 hearing. Labaton

offers this submission as a summary and to emphasize several points for the Court’s

consideration.

           First, the reasonable percentage range for the fee award is 20–30% of the common fund,

and the reasonable award should be 25%, as this Court previously decided. Even leaving aside

the lack of supporting authority within this Circuit, a “sliding scale” approach as urged by the

Hamilton Lincoln Law Institute (“HLLI”) 1 is ill-suited to this case, both in light of the enormous

amount of work counsel performed in achieving the excellent result for the class and because

counsel have submitted a lodestar confirming that a 25% fee award is reasonable. See § II,

infra. 2

           Second, public policy supports a fee award of 25%, because counsels’ relentless work –

which entailed significant risk for the firms – delivered an excellent result for the class and a

tangible benefit for the broader marketplace. See § III, infra.

           Third, counsel did not misrepresent the Fitzpatrick Study. See Brian T. Fitzpatrick, An

Empirical Study of Class Action Settlements and Their Fee Awards, 7 J. Empirical Legal Stud.

811 (2010). The Court should reject this baseless and unfair accusation. See § IV, infra.



1
 As used herein, “HLLI” refers to the Hamilton Lincoln Law Institute and the prior amicus, the
Competitive Enterprise Institute’s Center for Class Action Fairness.
2
  For a more detailed discussion in support of the 25% fee award, Labaton respectfully refers the
Court to its prior briefing, which is fully incorporated by reference herein. See Memorandum of
Law in Support of Lead Counsel’s Motion for an Award of Attorneys’ Fees, Payment of Litigation
Expenses, and Payment of Service Awards to Plaintiffs (ECF No. 103-1) (“Initial Fee Brief”);
Customer Class Counsels’ Memorandum of Law in Support of the Reasonableness of the
Attorney’s Fee Award (ECF No. 532) (“2018 Fee Brief”).


                                                   1
        Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 7 of 39



       Fourth, under the circumstances of this case, the Court should decline to exercise its

discretion to determine its own allocation of the fee award. Instead, it should respect the firms’

agreed-upon allocation, for which they bargained and which takes into account their respective

contributions to the case and other relevant considerations. See § V, infra.

       Finally, Labaton complied with all ethical duties applicable to this case. See § VI, infra. 3

II.    20-30% of the Common Fund is the Reasonable Fee Award Range.

       A.      Courts Within the First Circuit Have Endorsed a Range of 20-30%, and
               Have Not Applied the Sliding Scale Approach.

       Consistent with this Court’s practice – and case law from district courts within the First

Circuit generally – the reasonable percentage range for the fee award in this case is 20–30% of

the common fund. And, in particular, 25% is the most reasonable fee award. See generally

Initial Fee Brief (ECF No. 103-1); 2018 Fee Brief (ECF No. 532); see also November 2, 2016

Hr’g Tr. (ECF No. 114) at 24 (“[B]asically I understood as a guideline 20 to 30 percent was an

appropriate range to consider, so 25 percent is in the middle of the range . . . I’ve tended to stay

in that 20 to 30 percent range”); Latorraca v. Centennial Techs., Inc., 834 F. Supp. 2d 25, 27-28

(D. Mass. 2011) (“Courts in this circuit generally award attorneys’ fees in the range of 20–30%,

with 25% as ‘the benchmark.’”) (collecting cases); Bezdek v. Vibram USA Inc., 79 F. Supp. 3d

324, 349-50 (D. Mass. 2015) (same), aff’d Bezdek v. Vibram USA, Inc., 809 F.3d 78, 84 (1st Cir.

2015); Decl. of Brian T. Fitzpatrick, Klein v. Bain Capital Partners, LLC, No. 1:07-cv-12388-

WGY, ECF No. 1060 (D. Mass. Nov. 12, 2014) (located on this Court’s docket at ECF No. 532-

2) (the “Fitzpatrick Bain Declaration”) at ¶ 15 (“In the 27 settlements in my study from the First


3
  Further analysis of Labaton’s ethical conduct may be found in Labaton’s Objections (ECF No.
434), Supplemental Objections (ECF No. 379), and Second Supplemental Objections (ECF No.
452) to the Special Master’s Report and Recommendations (ECF No. 357) (the “R&R”), which
are fully incorporated by reference here.


                                                  2
        Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 8 of 39



Circuit where the percentage-of-the-fund method was used, the most common percentages were

25% and 33%, with over forty percent of awards between 30% and 35%. The mean was 27%

and the median 25% (with a standard deviation of 6.0%).”).

       Notwithstanding the consistent authority that counsel have cited in support of this

conclusion, HLLI argues for a lower percentage based on a “sliding scale.” 4 HLLI is incorrect,

and its assertion finds no support within First Circuit case law. Instead, courts in this Circuit

have rejected the notion that a fee award should be mechanically reduced based on the size of the

fund. See In re Tyco Int’l, Ltd., 535 F. Supp. 2d 249, 267 (D.N.H. 2007) (rejecting sliding scale

argument); In re Neurontin Mktg. & Sales Practices Litig., 58 F. Supp. 3d 167, 171-73 (D. Mass.

2014) (reducing requested 33-1/3% of $325 million common fund to 28% of fund, representing a

3.32 lodestar multiplier); In re Lupron Mktg. & Sales Practices Litig., No. 01-CV-10861-RGS,

2005 U.S. Dist. LEXIS 17456, at *20-21 (D. Mass. Aug. 17, 2005) (rejecting sliding scale

argument); Conley v. Sears, Roebuck & Co., 222 B.R. 181, 189 (D. Mass. 1998) (granting

request for 4.5% of $165 million common fund representing an 8.9 lodestar multiplier). 5

       B.      This Court Should Not Apply the Sliding Scale Approach.

       Even if the sliding scale approach were endorsed by courts in the First Circuit, which it is

not, application of the sliding scale would be misplaced in this case.



4
  The so-called “sliding scale” and “mega-fund” approaches, while distinct in some respects, are
“functionally the same.” William B. Rubenstein, 5 Newberg on Class Actions § 15:81 at 300 (5th
ed. 2015) (“Newberg on Class Actions”). The “sliding scale” approach refers to an inverse
relationship between the size of the common fund and the fee award. The “mega-fund” approach
represents the same concept, but applies only where the fund reaches a certain size. See id., §
15:80 at 299 (“The former is a hill, the latter a cliff.”). For simplicity, the general argument that
the fee award should be reduced based on the size of the fund is referred to here as the “sliding
scale” approach.
5
  The court in Conley described the multiplier as 8.9, but that figure may be incorrect, as
$7,500,000 (the attorneys’ fees sought) divided by $826,775 (the lodestar) is 9.07.


                                                  3
        Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 9 of 39



       First, it would make little sense for the Court to implement the sliding scale approach in

circumstances where lodestar reports have been submitted and fully vetted by the Court-

appointed Master. The benefit offered by the sliding scale approach, if any, is efficiency. It

serves as a “rough justice” tool that may help to avoid a windfall fee award and obviates the time

and burden imposed by a lodestar cross-check. See, e.g., Newberg on Class Actions § 15:80 at

296 (“The sliding scale method therefore became the answer to the windfall problem: it held out

the promise of addressing windfalls without the need for a lodestar cross-check.”). Otherwise

stated, the sliding scale approach was conceived as a substitute for the lodestar cross-check, and

was largely born of practicality, rather than greater merit. See id.; see also id. § 15:81 at 303. 6

       By material contrast, the lodestar cross-check offers a tailored and fact-based

measurement, an important quality given the idiosyncrasies inherent in class action settlements.

See, e.g., June 17, 2019 Fitzpatrick Aff. (ECF No. 550) at ¶ 9 (“[I]n light of the broad range over

which fee awards are distributed, it is impossible to assess whether any particular fee request is

unreasonable without examining the facts and circumstances of the case.”). Rather than relying

on “intuition,” the lodestar indicates the actual amount of work required to generate the


6
  “But therein lies the rub: to use the multiplier as a measuring stick of a windfall, a court would
have to undertake a lodestar cross-check, yet most courts that embrace the mega-fund concept do
so precisely to avoid a lodestar cross-check. Why? In the triumph of the percentage method over
the past 25 years, one of the strongest arguments in support of that method is that it relieves counsel
of the work of submitting, and a court the work of reviewing, a lodestar. But without a lodestar
cross-check, a straight percentage award has no measuring stick by which to assess whether a
particular percentage is or is not a windfall. Because courts are wary of high fee awards generally,
the mega-fund concept substitutes for the lodestar cross-check/multiplier idea by implanting in the
midst of a straight percentage analysis a method for ensuring against what seem like extraordinary
fee awards – simply cut the award as the fund increases. Given that the examples offered above
show the lack of a perfect correlation between fund size and windfall, the mega-fund concept is,
as noted, rough justice. But if courts are to adopt a straight percentage approach without ever
looking at a lodestar, the mega-fund concept supplies some governance mechanism on highly
multiplied fee awards, while saving everyone the trouble of a lodestar review.”
Newberg on Class Actions § 15:81 at 303.


                                                   4
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 10 of 39



settlement fund. See June 24, 2019 Hr’g Tr. (ECF No. 560) at 21 (HLLI: “The intuition behind

a sliding scale is that it doesn’t take ten times as much work to get a $300 million settlement as it

does to get a $30 million settlement . . . .”).

        Consideration of the work required to achieve a settlement is crucial, because the life

cycle and progression of class actions can vary so extensively. In some instances, a settlement

might be achieved early in the case. In other instances, the same monetary settlement might be

achieved only after extensive document discovery or other proceedings, over the course of which

plaintiffs’ counsel gradually convince a defendant that the risk of loss at trial is sufficient to

warrant such an offer. A sliding scale approach would not distinguish between the two; a

lodestar cross-check would. Newberg on Class Actions § 15:80 at 296 (“[S]ome high fund cases

involve significant risks, require enormous investments of money and time, and may

appropriately trigger a healthy percentage award; conversely, a relatively small fund . . . secured

with a few months’ work, may not truly entitle class counsel to a mean 25% award”); id. § 15:81

at 302-303 (explaining the same limitation with respect to the mega-fund concept). Thus, the

lodestar is a far more accurate and meaningful indicator of whether a certain fee percentage

would result in a windfall. Tyco, 535 F. Supp. 2d at 267-70 (“The best measure of the effort

required to produce a particular result in a given case is the lodestar.”); Newberg on Class

Actions § 15:81 at 303 (“Given that a high multiplier is the best measuring stick of a windfall,

courts ought to use the high multiplier to police windfalls, regardless of the size of the fund,

rather than use the size of the fund as a policing mechanism.”); id. at 305 (“[T]he multiplier itself

is the best measuring stick for determining when the windfall occurs”).

        In this case, the Court has the benefit of a lodestar that has now been extensively vetted.

Of course, the initial submission contained regrettable mistakes. However, at this juncture –




                                                   5
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 11 of 39



after intensive investigation, discovery, and argument – the lodestar has been audited and

determined to be accurate and reliable. See R&R at 365 (“The Special Master recommends that,

with the relatively minor exceptions noted herein, the Court find that the hours and rates of the

attorneys of each of the law firms for whom lodestar petitions were submitted to the Court are

reasonable and accurate . . . .”); id. at 209-10 (in the aggregate, class counsel expended a

reasonable amount of time on the case); Id. at 219 n.173 (“[T]he Special Master reviewed

voluminous documentation produced by the firms in support of their respective lodestar figures

[and] confirmed that the total hours and lodestar calculations were, in fact, accurate.”). As such,

the work required to create and scrutinize the lodestar is already done. Respectfully, the Court

should make use of this valuable tool. There is no reason to ignore the more accurate lodestar

and resulting multiplier cross-check by resorting to the less accurate sliding scale proxy. 7

       Second, and relatedly, the premise underpinning the sliding scale approach is absent here.

The rationale behind the sliding scale is the assumption that creating a large fund tends to require

proportionally less work. See, e.g., Tyco, 535 F. Supp. 2d at 267 (citing In re Prudential Ins. Co.

Am. Sale Practice Litig. Agent Actions, 148 F.3d 283, 339 (3d Cir. 1998)). This premise, of

course, would mean that when the fee award is commensurate with the work performed (even if

there is a relatively large fund), there is no reason to apply a sliding scale. See id. (“However,

the generalization on which the objectors’ argument depends does not hold in this case.”); In re

Relafen Antitrust Litigation, 231 F.R.D. 52, 80-82 (D. Mass. 2005) (“Here the court concludes it


7
  HLLI has argued that counsels’ lodestar should be reduced. E.g., ECF No. 545 at 7. This Court
should reject any such assertion. HLLI’s argument largely consists of unsupported surmise. See
id. at 7-8 (uncited speculation about hypothetical “Big Law” firms and clients). And, where HLLI
does (attempt to) rely upon facts, it gets them wrong. See id. at 8-9 (arguing based on the wrong
date). On the other hand, the Special Master’s investigation and factfinding with respect to
counsels’ lodestar was extensive. See generally R&R.




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       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 12 of 39



would be inappropriate to use a mean – an average – categorized according to the size of the

settlement fund as the be all and end all of analysis. Rather, this Court respectfully notes these

authorities but pursues this nuanced analysis looking at the complexity, duration, and type of the

case, and the skill and efficiency of the attorneys involved.”); In re Lupron, 2005 U.S. Dist.

LEXIS 17456, at *20-21 (concluding that “the argument for a reduction of the percentage award

as the size of a settlement fund increases reflects neither reality nor sound judicial policy”).

       The relatively modest multiplier in this case makes clear that a 25% fee award will not

result in a windfall. In fact, the 2.0 multiplier is well below the average for cases with large

funds. See, e.g., Dec. 18, 2018 Decl. of William Rubenstein at ¶ 7(c) (ECF No. 532-1)

(“[E]mpirical studies show that Class Counsel’s maximal 2.07 multiplier is well below the

average multiplier in large fund cases . . . .”); see also Newberg on Class Actions § 15:89 at 348-

49, tbl.2 (showing that lodestar multipliers typically increase with the size of the fund); Theodore

Eisenberg & Geoffrey P. Miller, Attorney Fees and Expenses in Class Action Settlements: 1993-

2008, 7 J. Empirical Legal Stud. 248, 274 tbl.15 (2010) (mean lodestar multiplier for common

funds over $175.5 million was 3.18); Theodore Eisenberg, Geoffrey Miller, et al., Attorneys’

Fees in Class Actions: 2009-2013, 92 N.Y.U. L. Rev. 937, 967 tbl.13 (2017) (mean lodestar

multiplier for common funds over $67.5 million was 2.72, with a standard deviation of 3.59);

Fitzpatrick Bain Declaration at ¶ 26 (ECF No. 532-2) (“[W]hen I limited the settlements in my

study to only those above $100 million (with data ascertainable in 24 of those settlements), I

found that the mean and median lodestar multipliers that resulted more than doubled to 3.34 and

2.74, respectively”). Decisions within the First Circuit are consistent. Of comparable published

cases (funds above $100 million), the 2.0 lodestar multiplier falls at the low end of the spectrum.

See 2018 Fee Brief (ECF No. 532) at 5-8. In fact, either 2.00 or 2.07 would represent the third




                                                  7
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 13 of 39



lowest lodestar multiplier among those cases (and HLLI’s proposed 1.34 would be the lowest).

Id.

       In short, the 2.0 lodestar multiplier is relatively small for a settlement of this size, and

demonstrates – as a matter of fact, rather than supposition – that the common fund did not

require proportionally less work to create. The 25% fee award was, and is, reasonable. See July

31, 2017 Rubenstein Decl. (ECF No. 368) at Ex. A, p. 30, ¶ 39 (the lodestar multiplier serves as

“the measuring stick of the reasonableness of counsel’s fee”). 8

       The sliding scale approach might be useful if the goal were to avoid the work of a

lodestar. Here, the Court already has a vetted lodestar. The purpose of the sliding scale

approach is to attempt to weed out windfalls. Here, the multiplier confirms that there is no

windfall. Simply stated, the sliding scale approach has no place in this case. Respectfully, the

Court should adhere to its original conclusion that 20–30% is a reasonable fee award range, and

that 25% is a reasonable fee award.




8
   During the June 24, 2019 hearing, the Court stated: “it seems to me that the Fitzpatrick study
might tell me, to the extent it should be relied on . . . that maybe the right range is 10 to 26 percent
with 17.9 percent as the average.” See June 24, 2019 Hr’g Tr. at 50. Respectfully, such an
approach would be flawed. First, the eight cases included in that calculation in the Fitzpatrick
Study include an “extreme outlier” fee award of 0.3%. See June 17, 2019 Fitzpatrick Aff. (ECF
No. 550) at ¶ 9. Second, adopting this percentage as the reasonable range here would fail to take
into account the lodestar multiplier, which (as explained above) serves as a litmus test for
reasonableness. As Prof. Fitzpatrick has noted, “when I limited the settlements in my study to
only those above $100 million (with data ascertainable in 24 of those settlements), I found that the
mean and median lodestar multipliers that resulted more than doubled to 3.34 and 2.74,
respectively.” See Fitzpatrick Bain Declaration at ¶ 26 (ECF No. 532-2). The lodestar
demonstrates that the range mentioned by the Court is too low. For instance, the low end of the
range (10%) would result in a $30 million fee award – i.e., a 0.81 multiplier – which would be
decidedly unreasonable given the level of risk that Plaintiffs’ counsel undertook and the level of
effort required to reach this resolution, which has been universally acknowledged as an excellent
result for the class.


                                                   8
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 14 of 39



III.   Public Policy Supports the 25% Fee Award.

       The Court has indicated that, once it determines a reasonable range for the fee award, it

may decide whether to adjust the award within that range based upon public policy

considerations. See June 24, 2019 Hr’g Tr. (ECF No. 560) at 18. Labaton acknowledges that,

particularly after having vacated the prior fee award, the Court has discretion to consider

counsels’ conduct under this factor, even in the absence of a formal finding of misconduct or

imposition of a formal sanction. Nevertheless, Labaton respectfully submits that public policy

considerations support the Court’s original 25% award, and counsel against any further

adjustment. 9

       The Court’s consideration of public policy must account for the public benefits generated

by class counsels’ efforts. Counsel achieved an excellent result for the class, which includes

(among others) a number of pension funds that secure the retirement of public employees.

Accordingly, in a tangible way, counsels’ efforts benefited many members of the public.

       And, by filing the first indirect FX class action in any court – and then successfully

litigating and mediating it to an outstanding result – class counsel helped to create a deterrent

against improper foreign exchange practices that did not previously exist. See R&R at 12. To

curb these marketplace abuses against custodial clients provides a significant public benefit, and

supports the Court’s original fee award on public policy grounds. See Neurontin, 58 F. Supp. 3d


9
   In light of the Court’s discussion during the recent hearings, Labaton focuses this portion of its
submission on the public policy considerations regarding the fee award. To the extent the Court
is looking to consider further the other factors that Courts in this circuit generally consider,
Labaton respectfully refers the Court to counsels’ prior submissions, which explain at length why
those remaining factors also support the 25% fee award. See Initial Fee Brief (ECF No. 103-1)
at 5-24; 2018 Fee Brief (ECF No. 532) at 16-21. The Initial Fee Brief relied upon the
formulation used by district courts in this circuit, which is comparable to the approach described
in Goldberger v. Integrated Res., 209 F.3d 43, 50 (2d Cir. 2000). See Initial Fee Brief (ECF No.
103-1) at 4-5 (quoting Medoff v. CVS Caremark Corp., No. 09-cv-554-JNL, 2016 WL 632238, at
*8 (D.R.I. Feb. 17, 2016)).


                                                  9
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 15 of 39



171 (public policy “militate[d] in favor of a considerable fee award, as lawsuits which help

curtail fraudulent drug marketing provide a valuable service in helping to safeguard the health

and welfare of the general public”); Lupron, 2005 U.S. Dist. LEXIS 17456, at *23 (“The public

interest is also served by the defendants’ disgorgement of proceeds of predatory marketplace

behavior.”); cf. Feeney v. Dell, 454 Mass. 192, 200 (2009) (“Here, expressions of three branches

of Massachusetts government indicate that the public policy of the Commonwealth strongly

favors G. L. c. 93A class actions.”).

        Moreover, the case counsel successfully brought was challenging and risky, and counsel

funded the entire litigation and bore all of the risk:

        In this case the plaintiffs’ lawyers took on a contingent basis a novel, risky case.
        The result at the outset was uncertain, and it remained, until there was a
        settlement, uncertain. The plaintiffs’ counsel were required to develop a novel
        case. This is not a situation where they piggybacked on the work of a public
        agency that had made certain findings. They were required to be pioneers to a
        certain extent.

November 2, 2016 Hr’g Tr. (ECF No. 114) at 36; see also, e.g., 2018 Fee Brief (ECF No. 532) at

16-21 (discussing risks of litigation); R&R at 6 (“Given the risks, complexities, and legal

challenges inherent in the litigation, it must be said that the $300 million settlement, procured by

skilled and dedicated plaintiffs’ counsel, was an excellent result for the class.”); id. at 29-34.

Against that backdrop, “public policy favors granting counsel an award reflecting that effort,”

because “[w]ithout a fee that reflects the risk and effort involved in this litigation, future

plaintiffs’ attorneys might hesitate to be similarly aggressive and persistent when faced with a

similarly complicated, risky case and similarly intransigent defendants.” Tyco, 535 F. Supp. 2d




                                                  10
         Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 16 of 39



at 270 (awarding 14.5% of the $3.2 billion fund, which resulted in a lodestar multiplier of

approximately 2.7). 10

         Understandably, the Court is concerned about certain aspects of counsels’ conduct in this

case. 11 If the Court is considering whether public policy requires a downward adjustment of the

fee award in order to deter misconduct in class action cases, Labaton respectfully submits that

the well-publicized course of this case – including the Master’s exhaustive investigation, which

this Court ordered (and Customer Class Counsel funded) – represents a sufficient (and

educational) deterrent to the class action community. See, e.g., Matthew Goldstein, Law Firm’s

Fee Settlement Could Shake Up Securities Class Actions, N.Y. TIMES (Oct. 10, 2018). Indeed,

class counsels’ substantial resources devoted to this investigation and litigation, together with

Customer Class Counsels’ funding of the Special Master, in effect already represents a de facto

reduction of the fee award. 12


10
   The 25% fee award in the BONY Mellon litigation provides further public policy support for a
25% fee award here, because the two cases involved many of the same attorneys and similar
subject matter. See 2018 Fee Brief (ECF No. 532) at 8; Long v. HSBC USA Inc., 14-cv-6233, 2016
U.S. Dist. LEXIS 124199, at *44 (S.D.N.Y. Sept. 13, 2016) (“Public policy also favors consistency
with respect to fee awards; in the absence of countervailing factors such as differences in the
qualifications of counsel or the complexity of the issues, there should not be wide disparities in
the fee awards to the same firm (or attorneys with similar qualifications) in different litigations
involving similar legal and factual issues.”). Although HLLI has suggested that this case was
“easier” than BONY Mellon because the Plaintiffs did not take depositions (June 24, 2019 Hr’g Tr.
(ECF No. 560) at 100-102), such a statement is extremely misleading. When this case was placed
on an alternate track at the Court’s suggestion, the parties understood that document discovery
would occur, and that the Court expected the parties to be move quickly (and not start from scratch
with discovery) if negotiations broke down. Id. at 107. Accordingly, Plaintiffs’ counsel had to
proceed with the work they did, because it was necessary for use in the negotiations, and so that
Plaintiffs would not be caught flat-footed if the case moved back onto a more traditional litigation
track.
11
     Labaton’s conduct under the applicable professional rules is addressed in Section VI, infra.
12
   Customer Class Counsel has thus far paid $4.8 million to fund the work of the Special Master
and those assisting him, of which Labaton has paid approximately $2.25 million. In addition,
Labaton has incurred an additional $3.2 million in out-of-pocket defense costs.


                                                 11
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 17 of 39



       In sum, any consideration of counsels’ conduct must be weighed alongside the

extraordinary benefits to the public – public pension plans, public employees, and the

marketplace – that counsel delivered. Considering all the public policy implications, the scales

remain balanced at a 25% fee award and 2.0 lodestar multiplier.

IV.    Customer Class Counsel Did Not Misrepresent the Fitzpatrick Study.

       HLLI has repeatedly accused Customer Class Counsel of misrepresenting the Fitzpatrick

Study. HLLI’s assertion is baseless.

       In their memorandum of law in support of their fee request (ECF No. 103-1), Customer

Class Counsel focused the initial discussion on settlements of “comparable size” (above $100

million) within the First Circuit. Id. at 6-8. Then, Customer Class Counsel explained:

       Some courts, at least in megafund cases, have “lower[ed] the fee award
       percentage as the size of the settlement increases to avoid giving attorneys a
       windfall at the plaintiffs’ expense.” Other courts have disfavored this practice,
       however, and courts in this Circuit resist it. In Lupron, for example, the court
       adopted the Ninth Circuit’s conclusion that “the argument for a reduction of the
       percentage award as the size of a settlement fund increases reflects neither reality
       nor sound judicial policy,” and granted the requested 25% fee and expense award.
       In In re Relafen Antitrust Litigation, the court granted the requested fee of 33-
       1/3% of $67 million in class recovery, finding that despite “several cases that
       suggest that the standard percentage is generally lower as the common fund
       increases . . ., the requested fee is not out of proportion with large class actions.”
       In Neurontin, Chief Judge Saris reduced fees and expenses from the requested 33-
       1/3% of the $325 million settlement fund to 28%. That was based, however, on
       an empirical study of class action fee awards (discussed below), not the declining
       percentage principle, which “[s]ome courts have rejected[.]”

Id. at 9 (citations omitted). In other words, Customer Class Counsel were upfront that: (1) large

settlements within the First Circuit provide one appropriate frame of reference; and (2) some

courts apply a “declining percentage principle.” See id. 13


13
    During the June 24, 2019 hearing, the Court suggested that Customer Class Counsel should
have taken the same approach as the fee brief submitted in the BONY Mellon case. See June 24,
2019 Hr’g Tr. (ECF No. 560) at 56. Labaton was not involved in that case. And, importantly,
although supporting materials in that case contained more detail about a possible sliding scale


                                                12
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 18 of 39



       Then – one page later, and in light of that context – Customer Class Counsel discussed

the Fitzpatrick Study. Id. at 10. Importantly, having explained that some courts apply the sliding

scale approach in large cases, Customer Class Counsel made clear that, with respect to the

Fitzpatrick Study, they were discussing “all 688 class action settlements in federal courts during

2006 and 2007.” Id. Otherwise stated, Customer Class Counsel presented a straightforward and

accurate description of a particular aspect of the Fitzpatrick Study. See June 17, 2019 Fitzpatrick

Aff. (ECF No. 550) at ¶ 6 (the “statistics recounted by class counsel were exactly as I set them

forth in my study. Although class counsel did not recount every statistic in my study, that does

not make their submission misleading.”).

       Customer Class Counsel again focused on cases with large funds during the hearing on

November 2, 2016. After the Court explained that it tends “to stay in that 20 to 30 percent

range,” counsel oriented the discussion toward cases with large settlements. See Nov. 2, 2016

Hr’g Tr. (ECF No. 114) at 24-25 (“So one thing we presented in our brief, Your Honor, to get a

little bit more to the point, is we compared the fee that we’re requesting here with the fees in

every class action settlement in the First Circuit of $100 million or more. There are some cases

that refer to class action settlements of $100 million or more as mega fund settlements.”). The

Court then expressly referenced fees in cases with large settlements. See id. at 35-36 (“This is in

the 20 to 30 percent range usually awarded by me in class action common fund cases and in

many cases with settlements in the First Circuit and in many cases where the settlements are a

$250 million to $500 million range.”). Finally, the Court explained that it had considered




approach, the brief itself did not raise the issue squarely with the Court. Compare ECF No. 103-
1 with Hearing Ex. C (In re Bank of N.Y. Mellon Corp. Forex Transactions Litigation, 12-MD-
2335, ECF No. 619 (S.D.N.Y.)).


                                                 13
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 19 of 39



reducing the percentage based on the high fee award, but ultimately declined to do so, in part

because the lodestar multiplier was reasonable. See id.

       In short, in both their briefing and during the final settlement hearing, class counsel

discussed large settlements, including the notion that fee awards in cases with large funds are

sometimes treated differently. They did not “hide the ball.” And, based on its comments, the

Court also appeared focused on fee awards in cases with larger funds.

       HLLI claims that the brief should have explained to the Court that (i) one of the many

ways in which the Fitzpatrick Study sliced up the overall figures was in a table, which had a

separate line for the eight settlements identified between $250 and $500 million; and (ii) if

limited to these eight settlements, the mean percentage would be smaller. The argument is not

only misplaced, it is extremely unfair for HLLI to suggest that the absence of HLLI’s preferred

language constituted a “misrepresentation.” The brief at issue distills dozens of sources and

principles of law, and strives to treat each one fairly in the presentation. There are an infinite

number of ways in which an author could have fairly described the Fitzpatrick Study (which was

attached in full to the brief). There is simply no basis to say that not highlighting this one figure

based on a small sample size (8 of 444 cases) with data scattered over a broad range (from a .3%

award to a 25% award) was wrong, much less misleading. Nor is there any evidence whatsoever

to support any suggestion that the presentation was intended to be deceptive.

       Finally, in any event, the 25% fee request is within one standard deviation of the mean

found by Prof. Fitzpatrick even if the Court does use his figure based on the eight cases in the

$250-500 million range. See June 17, 2019 Fitzpatrick Aff. (ECF No. 550) at ¶ 8. Accordingly,

although the requested 25% was higher than the mean found by Prof. Fitzpatrick’s study in that

specific figure, it was nonetheless “in line” with this finding. See id. at ¶ 9 (“[O]f the 8




                                                  14
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 20 of 39



percentage-method fee awards in the $250-500 million range in my study, two were greater than

the request here and six were below (including the extreme outlier of 0.3% based on the large

potential value of an injunction and credit-monitoring relief) . . . But even more to the point: the

facts and circumstances of this case compare quite favorably to the other settlements in the $250-

500 million range in my study.”) (citation omitted).

       Simply put, the presentation of the Fitzpatrick study in the fee petition was not

misleading, was not untrue, and there is no indication that there was any intent to deceive.

V.     The Court Should Decline To Exercise Its Discretion To Allocate the Fee Award.

       A.      The Court Should Enforce Counsel’s Fee-Sharing Agreements.

       Respectfully, in light of counsels’ negotiated fee-sharing agreements, the Court should

decline to allocate the fee award. Because class counsel have agreed upon a fee distribution,

“there is no need for formal judicial involvement.” See Newberg on Class Actions § 15:23 at 52;

see also In re Volkswagen & Audi Warranty Extension Litig., 89 F. Supp. 3d 155, 183 (D. Mass.

2015) (recognizing that, although a court is not required “blindly to follow” fee-sharing

agreements among counsel, they “may be respected or treated as presumptively reasonable in a

district court’s allocation of attorneys’ fees”); Longden v. Sunderman, 979 F.2d 1095, 1101 (5th

Cir. 1992) (“The district court acted well within its discretion in awarding an aggregate sum to

the Susman Attorneys that was based on their collective efforts, leaving apportionment of that

sum up to the Susman Attorneys themselves.”); In re Warfarin Sodium Antitrust Litig., 391 F.3d

516, 533 n.15 (3d Cir. 2004) (declining to “deviate from the accepted practice of allowing

counsel to apportion fees amongst themselves”); In re Polyurethane Foam Antitrust Litig., 168 F.

Supp. 3d 985, 1006 (N.D. Ohio 2016) (“Courts routinely permit counsel to divide common

benefit fees among themselves.”); In re Domestic Air Transp. Antitrust Litig., 148 F.R.D. 297,




                                                 15
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 21 of 39



357 (N.D. Ga. 1993) (“Ideally, allocation is a private matter to be handled among class

counsel.”).

        Courts often defer to an allocation of the fee award that is determined by lead counsel or

a designated group of attorneys. See, e.g., In re Indigo Sec. Litig., 995 F. Supp. 233, 235 (D.

Mass. 1998) (“The Court sees no reason why it should not, as it has done in the past, award

attorney fees and costs to all class counsel, to be distributed among the participating counsel

based on their respective contributions to the litigation, according to the discretion of lead

counsel.”). Counsels’ allocation in this case should be afforded even more deference, because it

is the result of negotiated agreements, rather than a unilateral distribution by lead counsel.

Under these circumstances, the Court should allow counsel to implement their agreed-to

allocation. See, e.g., LandAmerica 1031 Exch. Servs. v. Chandler, MDL No. 2054, 2012 U.S.

Dist. LEXIS 159630, at *21 (D.S.C. Nov. 7, 2012) (declining to allocate award because “firms

have entered into an agreement apportioning the fee award among themselves.”); In re Copley

Pharm., Inc., 50 F. Supp. 2d 1141, 1148 (D. Wyo. 1999) (“Having this policy in mind, it had

been the Court’s hope that class counsel could decide the allocation themselves. Accordingly,

per the standard practice in complex litigation, the Court first encouraged class counsel to

stipulate to an allocation, subject to approval by this Court.”). 14




14
   HLLI may argue that the Court cannot defer to counsels’ agreed-to fee allocation. The Court
should reject this argument, as other courts have done. See In re Polyurethane Foam Antitrust
Litig., 168 F. Supp. 3d at 1006 (“CCAF is wrong.”); In re Subway Footlong Sandwich Mktg. &
Sales Practices Litig., 316 F.R.D. 240, 253 (E.D. Wis. 2016) (“However, I also note that the
authority on which Frank relies to support the proposition that class counsel may not privately
divide a fee is inapposite.”), rev’d on other grounds, 869 F.3d 551, 557 (7th Cir. 2017).


                                                  16
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 22 of 39



       B.      If The Court Does Allocate Fees, It Should Allocate Them According to the
               Agreed-Upon Percentages.

       Alternatively, even if the Court does choose to exercise its discretion and consider what

amounts of fees should be allocated to which firm (see Newberg on Class Actions § 15:23 at 52),

the Court should nevertheless maintain the original agreed-to percentages among the firms.

       Any allocation by the Court should be driven by the “actual contributions each firm

made.” See Volkswagen, 89 F. Supp. 3d at 183; see also In re FPI/Agretech Sec. Litig., 105 F.3d

469, 473 (9th Cir. 1997) (“[A] court may reject a fee allocation agreement where it finds that the

agreement rewards an attorney in disproportion to the benefits that attorney conferred upon the

class – even if the allocation in fact has no impact on the class.”). The agreed-to fee percentages

were tied to the firms’ respective contributions and, as to the allocation between Customer Class

Counsel and ERISA counsel, 15 to the relative trading losses of the class members on whose

behalf they were acting. The Court should implement those allocations.

       Nothing about Labaton’s conduct justifies departing from this agreed-to percentage.

With respect to the payment to Chargois & Herron, Labaton’s conduct complied with the

applicable ethical and procedural rules. See § VI, infra. Even if this were not the case, however,

the Court should not reduce Labaton’s fee award, much less do so to increase the allocation to

other counsel. Although Lieff and Thornton have said that they did not know the full details of

Labaton’s agreement, all three Customer Class Counsel firms were aware of the $4.1 million fee

shared with Chargois (see ECF No. 446-9); aware that no disclosure of that sharing was made




15
  Under the proposed accommodation to ERISA counsel in the Special Master’s Supplement to
His Report and Recommendations and Proposed Partial Resolution of Issues for the Court’s
Consideration (ECF No. 485), as a part of a global settlement, Labaton agreed to pay to ERISA
counsel $2.75 million in resolution of the Special Master’s recommended $3.4 million payment.


                                                17
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 23 of 39



(appropriately in Labaton’s belief) to the Court, the class, or ERISA counsel 16; and aware that

Chargois entered no appearance, submitted no lodestar report, participated in none of the

mediations or hearings, produced no work product and certainly did not engage in work that

would approach the value of $4.1 million.

       Nor should the Court reduce Labaton’s portion of the fee based on the costs of the

Master’s investigation. The investigation began with the lodestar double-counting error, which

was a mistake shared at least equally by all of the Customer Class Counsel firms. See R&R at

364. Labaton has already paid 47% of the cost of the Special Master’s investigation based on its

share of Customer Class Counsel’s portion of the fee award. When the investigation moved into

the fee sharing stage, it involved, not only the Chargois Agreement, but also disclosure of the

Chargois & Herron payment (which involved all three Customer Class Counsel) and the

treatment of contract attorneys by the other two Customer Class Counsel firms. 17 For this phase,

too, Labaton has already paid 47% of the costs, although Labaton employed no contract

attorneys. See Special Master’s Response to Objections to Lieff to Sharing Responsibility with

Labaton for Payment of an Additional $750,000 (ECF No. 486) at 5 (“Although Labaton has, to

date, carried a substantial portion of the case for Customer Class Counsel, Lieff Cabraser and

Thornton have each contributed significantly to the Master’s workload and to the concomitant

costs of the investigation.”). Equity does not dictate that Labaton’s fee should be reduced any

lower than 47% of the fee shared by Customer Class Counsel, particularly given the Firm’s


16
    The ERISA firms apparently shared the view, which Labaton believes is correct, that disclosure
of fee-sharing agreements among counsel is not routinely required. See ECF No. 401-34 at 1 (L.
Sarko: “We need to be careful about this as the DOL had asked if there were any agreements on
fees between counsel. I would never answer their question. And then they seem to forget about
it.”).
17
  Labaton employed non-partnership track Staff Attorneys, but no contract attorneys. Lieff and
Thornton employed contract attorneys.


                                                18
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 24 of 39



crucial role as lead counsel in this risky case that brought an “excellent result for the class” (see

R&R at 6), and in light of the fact that Labaton continues to do work on behalf of the class,

administering the settlement.

        Finally, the Court has indicated concern with language in the fee declarations submitted

by Customer Class Counsel and ERISA counsel concerning the “regular rates charged.” This

language – which should have been clearer – does not warrant reducing Labaton’s award in

comparison to the other two Customer Class Firms. While Thornton is a pure contingency firm,

Labaton is a predominantly contingency firm that does some billable client work. See ECF No.

510-2 (identifying hourly billable work Labaton has performed); ECF 104-15 (Labaton’s

lodestar). Despite the lack of precision, Labaton’s lodestar used real rates that Labaton sets

annually. As Labaton’s extensive documentary and deposition evidence during the investigation

demonstrated, Labaton regularly undertakes a robust and systematic process for determining its

billing rates, which reflect the prevailing rates in the legal community. See R&R at 65-66; see

also United States v. One Star Class Sloop Sailboat, 546 F.3d 26, 40 (1st Cir. 2008). Although

hourly work is infrequent and Labaton cannot show that every timekeeper in its lodestar

submission billed time to hourly clients, it has shown that on those occasions when it has hourly

clients, it uses its billing rates. 18 In other words, the rates are real. Lieff is similarly situated to

Labaton in this regard. See June 24, 2019 Hr’g Tr. (ECF No. 560) at 123.




18
   As explained during the hearing (June 24, 2019 Hr’g Tr. at 117-18), in some cases hourly work
in 2016 involved a project that began in 2015, so the 2015 rate was used. This explains the slight
difference between the hourly rates listed in Labaton’s interrogatory response (ECF No. 510-2 at
23-25) and its lodestar submission (ECF No. 104-15 at 7-9).


                                                    19
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 25 of 39



       The Court need not and should not exercise its discretion to allocate the fee award.

However, Labaton respectfully requests that, if the Court decides otherwise, it select the

allocations to which counsel agreed.

VI.    Labaton Complied With The Applicable Rules of Professional Conduct and the
       Federal Rules of Civil Procedure.

       Labaton reiterates, as it states in the proposed partial resolution, that its conduct in this

case did not meet emerging best practices with respect to disclosure of the Chargois Agreement

to the client and to the class, nor did it satisfy that which Professor Rubenstein has suggested

would be the appropriate practice with regard to disclosure of the agreement to the Court. See

June 26, 2019 Hr’g Tr. (ECF No. 566) at 235. 19 Labaton strives to be at the forefront of best

practices and emerging best practices in the practice of law. Regrettably, Labaton fell short, for

which it again expresses its deep regret.

       Nevertheless, Labaton complied with the rules of ethical conduct applicable to this case,

i.e., the Massachusetts Rules of Professional Conduct (“MRPC”). Labaton secured its client’s

written consent to pay a referral fee, both prospectively and retroactively. As such, Labaton

complied with the ethical rule governing the division of fees between attorneys, MRPC 1.5(e).

The rule about which the Court expressly inquired at the June 26, 2019 hearing, MRPC 7.2(b),

does not apply to this case. However, even if MRPC 7.2(b) could be found to apply, Labaton’s

compliance with MRPC 1.5(e) precludes a finding that the Firm violated Rule 7.2(b).




19
   See Newberg on Class Actions § 15:12 at 36 (explaining that Courts have not construed Rule
23(e) to require disclosure of fee agreements among counsel, but that “settling parties should also
readily provide them under Rule 23(e) in any case.”) (emphasis added); see also ECF No. 368
(June 20, 2018 Rubenstein Declaration) at ¶ 10 (“No court has ever read Rule 23(e)(3) to apply to
fee allocation agreements, to the best of my knowledge.”).


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       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 26 of 39



        The Court noted at the June 26 hearing, “[a]t the moment, since I didn’t issue a [Rule] 54

order, and I will in every other class action case I have in the future, I’m not inclined to find that

there was a violation of Rule 23.” June 26, 2019 Hr’g Tr. (ECF No. 566) at 235. Labaton

respectfully suggests that the Court’s inclination is entirely correct. Labaton did not violate the

Federal Rules of Civil Procedure, which are on-point and preclude any finding of misconduct.

        A.      The Chargois Agreement Met the Existing Requirements of the
                Massachusetts Rules of Professional Conduct.

                1.      Labaton Complied with MRPC 1.5(e). 20

        In February 2011, when ATRS engaged Labaton specifically for the State Street

litigation, MRCP 1.5(e) (“Former Rule 1.5(e)”) 21 provided that a “division of a fee between

lawyers who are not in the same firm may be made only if, after informing the client that a

division of fees will be made, the client consents to the joint participation and the total fee is

reasonable.” ECF No. 401-227 at 2.

        Labaton complied with Former Rule 1.5(e). In the engagement letter for the State Street

case, ATRS agreed that Labaton could allocate a portion of its fees to “local or liaison counsel”

or as “referral fees.” ECF No. 401-137 at 2. Accordingly, ATRS consented to the Chargois

Agreement, as five highly-credentialed experts opined. See, e.g., Green Rep. (ECF No. 401-248)

at 19-20 (“Particularly in the context of a retention letter setting forth the parties’ respective




20
    See Labaton’s Objections (ECF No. 434) at 25-37 and Labaton’s Second Supplemental
Objections (ECF No. 452) at 14-15 for a more complete exposition of this argument. Similar
footnotes are included below, in order to direct the Court to Labaton’s prior submissions.
21
   As used herein, “Former Rule 1.5(e)” refers to the version of MRPC 1.5(e) in effect in February
2011 when ATRS engaged Labaton in connection with this litigation; “Current Rule 1.5(e)” refers
to the version of MRPC 1.5(e) in effect now. Where the distinction is not material to the
discussion, this submission will simply refer to “Rule 1.5(e).”


                                                  21
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 27 of 39



rights and responsibilities, it seems reasonably plain to me that the sentence in question in fact

memorializes ARTRS’s permission.”). 22

       In addition, because ATRS consented to Labaton’s payment of a referral fee in writing

(i.e., the parties’ engagement letter), Labaton also complied with the written consent requirement

described in the Supreme Judicial Court’s Saggese opinion, which was decided in 2005. See

Saggese v. Kelley, 445 Mass. 434, 443 (2005) (explaining that Rule 1.5(e) would be construed

prospectively to require that an attorney disclose “the fee-sharing agreement to the client before

the referral is made” and that the attorney “secures the client’s consent in writing.”). 23

       Neither Former Rule 1.5(e) nor its current iteration requires the disclosure of the details

of the fee-sharing agreement (e.g., the percentage of the referral fee). See Former Rule 1.5(e);

see also Current Rule 1.5(e), cmt. 7A (“The Massachusetts rule does not require disclosure of the




22
    Labaton retained five experts during proceedings before the Master: Profs. Peter Joy, Bruce
Green, and W. Bradley Wendel; Hal Lieberman, who has worked for the Massachusetts Office of
Bar Counsel and a similar New York disciplinary body; and the late Camille F. Sarrouf, whose
distinguished career included a term as President of the Massachusetts Bar Association. Each
agreed that Labaton fulfilled its ethical obligations with respect to the Chargois Agreement. See
Joy Rep. (ECF No. 401-249) at 27 (“Labaton’s engagement letter with ARTRS for the State Street
Litigation met the requirements of Mass. R. Prof. C. 1.5(e) as it existed at the time of the
engagement letter.”); Lieberman Rep. (ECF No. 401-250) at 16 (“Labaton obtained ARTRS’
consent to divide its fees with Chargois, and therefore complied with Rule 1.5(e), as it then
existed.”); Wendel Rep. (ECF No. 401-251) at 14 (“In my opinion, the negotiations between
Labaton and the ARTRS and the written consent provided by Clark [ATRS’ Chief Counsel] and
Hopkins satisfy the requirements of Mass. RPC 1.5(e) and the interpretation placed on the rule by
the Saggese court.”); Sarrouf 3/21/18 Dep. (ECF No. 401-263) at 106:5-107:5.
23
    Saggese’s written consent requirement was not codified in the MRPC until March 15, 2011,
after ATRS engaged Labaton for this case. Labaton’s search of a Massachusetts Board of Bar
Overseers database did not uncover decisions citing Saggese, thus the BBO appears not to have
used it as a basis for discipline between its issuance (2005) and the 2011 amendment of Rule 1.5(e).
Mr. Lieberman’s experience is consistent. See Lieberman Dep. (ECF No. 401-230) at 120:2-7 (“I
have never seen a disciplinary case for a lawyer where the court has disciplined a lawyer based on
a ruling of a court as opposed to a violation of a Rule of Professional Conduct . . .”).


                                                  22
       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 28 of 39



fee division that the lawyers have agreed to, but if the client requests information on the division

of fees, the lawyer is required to disclose the share of each lawyer.”). 24

       In any event, even if the Chargois Agreement did not comply with Former Rule 1.5(e),

ATRS through its then-Executive Director George Hopkins ratified the fee division, essentially

for the purpose of putting to rest the Master’s concern that the engagement letter constituted

insufficient consent. See March 15, 2018 Hopkins Decl. (ECF No. 401-129) at 3-4. Under

governing Massachusetts law, a client’s ratification is sufficient consent. Saggese, 445 Mass. at

442 (“Ratification is not the preferred method to obtain a client’s consent to a fee-sharing

agreement, but it is adequate.”). 25 Accordingly, regardless of whether Labaton initially complied

with Former Rule 1.5(e), it subsequently obtained its client’s consent – as even Prof. Gillers, the

Master’s expert, concedes. See March 20, 2018 Gillers Dep. (ECF No. 401-264) at 106:18-22

(“Q: Sir, does the ratification declaration that you have seen now from Mr. Hopkins constitute

consent on behalf of Arkansas Teacher Retirement System to the fee referral to Chargois &

Herron? A: On behalf of Arkansas alone.” 26); see also June 28, 2018 Joy Decl. (ECF No. 435-

19) at 7 (“Even if the Court were to adopt the Special Master’s unique interpretation of Mass. R.

Prof. C. 1.5(e) as it existed at the time of the retention agreement between Labaton and ATRS,

Hopkins’ ratification would have been adequate consent to the fee sharing agreement . . . .”).



24
    Comment 7A to Current Rule 1.5(e) indicates that the client’s interest in additional information
does matter. That is of particular note here where ATRS Executive Director George Hopkins
testified before the Master (ECF No. 401-11 at 68:23-69:3), and swore in his declaration, that he
did not wish to know the details of any fee sharing arrangements. See March 15, 2018 Hopkins
Decl. (ECF No. 401-129).
25
   In Saggese, the client ratified her attorneys’ agreement to pay a 33% referral fee two years after
the referral was made (and after the referring attorney had received payments). Id. at 436-40.
26
    Mr. Hopkins did not purport to ratify for the absent class members, or for the separately
represented ERISA plaintiffs.


                                                 23
         Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 29 of 39



Saggese is thus dispositive: Had there been any noncompliance with Former Rule 1.5, which

there was not, the ratification by Labaton’s direct client negated the import. 27

         In short, Labaton complied with Former Rule 1.5(e). Its sophisticated client consented in

writing to the payment of referral fees resulting from the State Street matter, and the client then

ratified the payment after full disclosure of all pertinent facts. See ECF No. 401-129.

                 2.     The Chargois Agreement Is Encompassed in Rule 1.5(e). 28

         Both the Master and the Court have questioned whether the payment to Chargois &

Herron can be characterized as a “referral fee.” See R&R at 272-73; June 26, 2019 Hr’g Tr.

(ECF No. 566) at 233. But, however the Chargois Agreement is labelled, it falls within the

ambit of Former Rule 1.5(e) and Current Rule 1.5(e), because it involves a “division of a fee

between lawyers who are not in the same firm.” See Former Rule 1.5(e); Current Rule 1.5(e).

Rule 1.5(e) is not limited to “referral fees” per se. The Firm agreed to divide its fee with

Chargois, a lawyer in a different firm who has acted as traditional local counsel in other cases

and was expected at the outset to have a role in ATRS cases. See Testimony of Eric Belfi and

Chris Keller, June 26, 2019 Hr’g Tr. at 10-17, 19-20, 52, 80-82, 86-96 (ECF No. 566).

Therefore, Rule 1.5(e) applies.

         In any event, the Chargois Agreement fits the Massachusetts Bar’s conception of a

referral fee, despite the facts that (1) the agreement was not matter-specific and (2) as it turned

out, Chargois’ role was limited to facilitating an introduction between ATRS and Labaton. See


27
   Little heed has been paid to ATRS’ ratification thus far. See R&R at 257 n. 206. The Master’s
expert, Prof. Gillers, also brushed aside the ratification, while appearing to suggest that Saggese’s
rule may not apply in class action cases. ECF No. 401-237 at 76 n. 83. This is illogical. If Rule
1.5(e) applies to Labaton’s relationship with ATRS in this context, which it does, Saggese’s
holding regarding ratification of agreements subject to the rule must also apply. In any event,
ATRS’ ratification, at the very least, mitigates any purported misconduct by Labaton.
28
     See Labaton’s Objections (ECF No. 434) at 32-41.


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       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 30 of 39



Lieberman Dep. (ECF No. 401-230) at 44:12-14 (“I think this is a referral fee, and it happens all

the time, common.”); March 24, 2018 Sarrouf Dep. at 233:3 (referencing the “fee referral in this

case”), 241:23 (“Those were referral fees.”) (attached to the Transmittal Declaration of Justin J.

Wolosz, filed herewith, as Exhibit 1).

        The Court has inquired whether, if the Court considers the payment here to be akin to a

“finder’s fee,” it cannot be characterized as a referral fee. A 2012 decision by the Massachusetts

Court of Appeals is instructive with respect to the Court’s question. See Vita v. Berman,

DeValerio & Pease, LLP, 81 Mass. App. Ct. 748, 749-50 and n.4 (2012). In Vita, the court

repeatedly described as a “referral fee” an arrangement in which a criminal defense lawyer used

his “many contacts in the financial securities field” to refer “potential class action plaintiffs” to a

securities litigation law firm. Id. (citing Saggese). As here, “[o]nce a referral was made,” the

defense attorney “did not participate further in the litigation.” Id. at 750. Notably, the defense

attorney referred at least one potential plaintiff “at the request” of a partner at the securities firm.

Id. at 750. The Court of Appeals characterized this arrangement as a “referral” throughout its

opinion. E.g., id. (“In February, 1998, at the request of BDP partner Jeffrey Block, Vita referred

Robert Hillger as a potential plaintiff for a class action suit against Phillip Services Corporation”)

(emphasis added). This Massachusetts appellate authority indicates that, in the Commonwealth,

a fee paid by a lawyer to another lawyer for facilitating a connection with a potential client is a

payment for a “referral.” See id. 29 Hence, such a payment should be considered a “referral fee.”

        Moreover, from a policy perspective, the fundamental principle animating the

Massachusetts Bar’s embrace of “bare” referral fees was realized in this case, because ATRS had


29
    Curiously, despite the Master’s assertion that the payment to Chargois & Herron was not a
referral fee, the Master describes the payment in Vita – which involved a referral “at the request”
of the class action firm – as an “unpaid referral fee.” R&R at 296.


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         Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 31 of 39



the opportunity to retain highly-skilled attorneys who delivered “an excellent result for the

class.” See R&R at 6; see also Lieberman Rep. (ECF No. 401-250) at 18 (“As a matter of good

policy and the public interest, it is well recognized that the bar should encourage fee sharing

relationships that serve the client by helping to ensure that cases, especially litigation matters,

like this one, are handled by the best, most experienced lawyer in the particular area of the

law.”); June 14, 2017 Hopkins Dep. (ECF No. 401-3) at 100:8-10 (opining that he does not

“think another law firm could have gotten the outcome [Labaton] did.”).

                3.      Rule 7.2(b) Does Not Apply.30

         Because Labaton complied with Former Rule 1.5(e), its actions would also constitute

compliance with Mass. R. Prof. C. 7.2(b) (“Rule 7.2(b)”) (providing that a lawyer may “pay fees

permitted by Rule 1.5(e)”). However, even if Labaton had failed to comply with Former Rule

1.5(e), which is not the case, Labaton did not violate Rule 7.2(b).

         Rule 1.5(e) governs a fee division between lawyers. Accordingly, non-compliance with

Rule 1.5(e) is a violation of Rule 1.5(e) – not a violation of Rule 1.5(e) and Rule 7.2(b). Nothing

in the text of Rule 1.5(e) – nor in the Supreme Judicial Court decision construing it – suggests

that a violation of Rule 1.5(e) constitutes a violation of Rule 7.2(b). See Saggese, 445 Mass. at

440-41 (with respect to an undisclosed fee division, explaining that either Rule 1.5(e) or its prior

iteration, DR 2-107, “governed the conduct of the lawyers,” and not mentioning Rule 7.2(b) or

any other rule of professional conduct) (emphasis added).

         In fact, the two rules cover different types of conduct: “advertising” (Rule 7.2) and

“division of fee” (Rule 1.5(e)). The Chargois Agreement involves a division of Labaton’s fee,

and thus fits squarely and exclusively within Rule 1.5(e). See O’Connell v. Shalala, 79 F.3d 170,


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     See Labaton’s Objections (ECF No. 434) at 37-41.


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       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 32 of 39



176 (1st Cir. 1996) (“[A] court engaged in the task of statutory interpretation must examine the

statute as a whole, giving due weight to design, structure, and purpose as well as to aggregate

language”) (internal citations omitted); Almendarez-Torres v. United States, 523 U.S. 224, 234

(1998) (explaining that “the title of a statute and the heading of a section are tools available for

the resolution of a doubt about the meaning of a statute”) (internal quotations omitted).

        The historic enforcement of the ethics rules reflects this common-sense interpretation.

E.g., Lieberman Rep. (ECF No. 401-250) at 17 (“I am not aware of any such bootstrapped

interpretation or application of Rule 7.2 in any jurisdiction . . .”). If a violation of Rule 1.5(e)

resulted in a violation of Rule 7.2(b), any decision in which an attorney has been found to have

violated Rule 1.5(e) would necessarily include a consequent finding that the attorney violated

Rule 7.2(b). See, e.g., Joy Rep. (ECF No. 401-249) at 18-19 (“If in 2016, or any time before

2016, ethics authorities in Massachusetts viewed sharing fees in violation of Mass. R. Prof. C.

1.5(e) as a violation of Mass. R. Prof. C. 7.2(b) (previously Mass. R. Prof. C. 7.2(c)), then, in my

opinion, I would have expected the Admonition to discuss a violation of Mass. R. Prof. 7.2(b).”).

But, “Massachusetts state courts, Massachusetts disciplinary authorities, and the United States

District Court for Massachusetts have never considered a fee division between law firms based

on a flawed or imperfect division of fee arrangement between law firms and a client under Mass.

R. Prof. C. 1.5(e) to be a violation of Mass. R. Prof. C. 7.2[b].” Id. at 16. The Master’s research

is in accord. R&R at 337 (explaining that “apparently no disciplinary body or court in

Massachusetts or, indeed, in the rest of the country has ever imposed discipline or sanctions upon

a lawyer for paying another lawyer under Rule 7.2(b)”). 31



31
  Prof. Gillers has argued that Daynard v. Ness, Motely, Loadholt, Richardson & Poole, P.A., 188
F. Supp. 2d 115, 130 (D. Mass. 2002) stands for the proposition that an imperfect fee division
would trigger Rule 7.2(b). See March 20, 2018 Gillers. Dep. (ECF No. 401-264) at 84:22-86:18.


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         Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 33 of 39



         Against that backdrop, deciding that Labaton violated Rule 7.2(b) apparently would

break new ground under (at least) Massachusetts law. See, e.g., id. at 273 (“What does give us

some pause before recommending redress for a violation of Rule 7.2(b) is the fact that,

apparently, no bar disciplinary authority or Court has ever imposed discipline upon an attorney

for a violation of this Rule by paying another attorney.”). Such a finding would also be

inconsistent with fundamental principles of notice and due process. See R&R at 337-338

(“[b]ecause this appears to be an issue of first impression and not one of which the profession

might have been well-advised in advance, it would not be appropriate to impose professional

discipline in these circumstances. Accordingly, no professional discipline or sanctions is

warranted here and none is recommended.”). Particularly in light of the lack of notice of this

new interpretation and lack of authority for applying Rule 7.2(b) in this manner the Court should

not find a violation of Rule 7.2(b) in these circumstances. See, e.g., Joy Rep. (ECF No. 401-249)

at 16-19; Saggese, 445 Mass. at 440-41 (Rule 1.5(e) “governed” undisclosed fee-splitting

arrangement).

         B.     Labaton’s Nondisclosure of the Chargois Agreement to the Court Did Not
                Violate The Federal Rules of Civil Procedure.

                1.      The Federal Rules of Civil Procedure Did Not Require the Disclosure
                        to the Court of Fee Allocation Agreements. 32

         As the Court noted at the June 26 hearing, “[a]t the moment, since I didn’t issue a [Rule]

54 order, and I will in every other class action case I have in the future, I’m not inclined to find




But, this case does not support Prof. Gillers’ position. See Daynard, 188 F. Supp. 2d at 124 n.5
(not mentioning Rule 7.2(b), despite analyzing both Rule 1.5(e) and its New York equivalent).
Prof. Gillers’ reliance on Holstein v. Grossman, 246 Ill. App. 3d 719 (1993), is similarly
inapposite. That decision extensively discusses fee-splitting agreements under Ill. Sup. Ct. R. 2-
107, but does not mention Model Rule of Professional Conduct 7.2(b) or its Illinois analogue. Id.
32
     See Labaton’s Objections (ECF No. 434) at 43-59.


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         Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 34 of 39



that there was a violation of Rule 23.” June 26, 2019 Hr’g Tr. (ECF No. 566) at 235. Labaton

respectfully suggests that the Court’s inclination is well founded. The Firm did not violate the

Federal Rules of Civil Procedure, which are on-point and preclude any finding of misconduct. 33

As with counsels’ other fee-sharing agreements relating to this case, 34 Labaton’s nondisclosure

of the Chargois Agreement did not violate the applicable rules of professional conduct or the

governing Federal Rules of Civil Procedure.

                2.      Labaton Did Not Violate A Duty of Candor to the Court. 35

         In the context of determining where a party’s award should fall in the appropriate range

of a reasonable fee, the Court noted that “candor to the court is an important public policy

consideration,” and that the Court “might find a series of failures by various counsel in their duty

of candor to the court and where that ought to influence the award within the reasonable range.”

June 26, 2019 Hr’g Tr. (ECF No. 566) at 248, 259-60.

         In Labaton’s case, the issue of candor to the Court centers on the failure to disclose the

Chargois Arrangement. But, as discussed above, this failure did not violate the Federal Rules of

Civil Procedure, which do not require disclosure of fee-sharing agreements. See, e.g.,




33
    The Advisory Notes (among other authorities) support this conclusion. See Fed. R. Civ. P. 54,
1993 Notes of Advisory Committee, ¶ 8 (“If directed by the court, the moving party is also required
to disclose any fee agreement, including those between . . . attorneys sharing a fee to be awarded
. . . .”) (emphasis added); see also 5 William B. Rubenstein, Newberg on Class Actions § 15:11
(5th ed. 2016) (“The third prong of Rule 54(d)(2)’s motion requirement – concerning disclosure
of fee agreements – is discretionary with the court.”); Rubenstein Rep. (ECF No. 401-242) at 5
(“Rule 23(h) and Rule 54 are therefore clear in mandating the submission of fee agreements –
including those concerning the allocation of fees among counsel – only upon court order.”); see
also June 20, 2018 Rubenstein Decl. (ECF No. 368) at 6 (“No court has ever read Rule 23(e)(3) to
apply to fee allocation agreements, to the best of my knowledge.”).
34
   The various class firms had several fee-sharing agreements in connection with this case (both
with ancillary firms and amongst each other).
35
     See Labaton’s Objections (ECF No. 434) at 59-69.


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       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 35 of 39



Rubenstein Dep. (ECF No. 401-243) at 126:20-22 (“I think that lawyers have the right to rely on

the rules, and the rule is the Court can ask for the fee agreements if they want.”); id. at 198:6-10

(“[Y]ou know, the law is clear here, and the lawyers have every reason to rely on the clearness,

the clarity of the law. Rule 23 and Rule 54 could not be more clear . . . .”).

       In fairness, Labaton’s duties should be assessed against the regular practice in this

District, where courts rarely order the disclosure of fee-sharing agreements (despite the

permissibility of “bare” referral fees in Massachusetts). See Rubenstein Rep. (ECF No. 401-242)

at 6 (explaining that, as of March 2018, in 127 recent class action settlements, the court did not

order the disclosure of fee-sharing agreements in a single one).

       And, across jurisdictions, courts are frequently unaware of the full slate of attorneys who

worked on a case (and, by extension, the attorneys who may share in the fee award). Id. at 10-11

(“[I]n nearly 40% of class action cases, courts are not provided the names of lawyers who

worked on the case and who might, on that ground, be in line to receive a portion of the award . .

. . [T]he class action experts who drafted Rule 23(h) were well aware that a class action case

encompasses cast and crew – and they nonetheless chose the default embodied in Rule 54: that

fee allocation agreements need not be disclosed absent judicial request, that the judge must ask

for the playbill.”). Otherwise stated, neither the procedural rules nor regular practice indicates

that agreements to share a class action fee award must be disclosed.

       Imposition of a penalty is unduly harsh if it is imposed for violation of an unsourced duty

of candor where no rule of professional conduct has been violated, and where conduct has been

consistent with the Federal Rules of Civil Procedure and with local practice. And, while the

terminology is gentler, reduction of a Firm’s fee award for a perceived violation of the duty of




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       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 36 of 39



candor is nonetheless penal in nature. Labaton therefore respectfully urges that no such

reduction based on a duty of candor should be imposed. 36

       Similarly, Labaton cannot be found to have violated MRPC 3.3(a) or 8.4(c), which

govern disclosure obligations. “For there to be an ethical duty for Labaton to disclose to the

Court its fee sharing agreement with Chargois & Herron under Mass. R. Prof. C. 3.3(a) or 8.4(c),

the ethical duty would have to be based on Labaton knowingly engaging in impermissible

conduct.” Joy Rep. (ECF No. 401-249) at 43. The circumstances here do not support any

conclusion that Labaton “knowingly” violated any duty of candor.

       In fact, the opposite is true. At the time that Labaton filed its fee petition: the Federal

Rules of Civil Procedure did not require disclosure; this District’s local rules did not require

disclosure; the Court did not have a standing order requiring disclosure; the Court had not

ordered disclosure in this case; and no judge in the District of Massachusetts had ordered

disclosure of fee agreements in well over a hundred class action cases since 2011 (see

Rubenstein Rep. (ECF No. 401-242) at 6).

       Considering the totality of the circumstances, it was justifiable for Labaton to believe that

it was not required to disclose the Chargois Agreement to the Court. 37 As Professor Rubenstein

explained, “there is nothing that the lawyers did here that was unusual.” Rubenstein Dep. (ECF



36
   While Labaton recognizes that Rule 11 can be one basis upon which violations of the duty of
candor may be based, Labaton has never briefed Rule 11 for the Court because the Master did not
recommend such a finding against Labaton. If the Court has any thought of entering such a
finding, Labaton respectfully requests the opportunity to brief the issue fully and to be heard, as
the Court suggested would occur if new issues arose. See May 31, 2019 Order at 2 (ECF No. 543).
37
    In addition, the Court did not indicate that counsels’ fee-sharing agreements were material to
its decision making. Instead, the Court focused on the total fee award, without inquiring into how
fees would be divided even among Customer Class Counsel – an approach that was within the
Court’s discretion and typical in local class action practice. Nov. 2, 2016 Hr’g Tr. (ECF No. 114)
at 22-38; see also Rubenstein Rep. (ECF No. 401-242) at 6.


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       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 37 of 39



No. 401-243) at 104:5-6. Labaton should not be found to have committed an ethical violation

based on a random, unclear, or ambiguous interpretation of a rule. See In re Discipline of an

Atty., 442 Mass. 660, 668 (2004) (“Due process requires that attorneys, like anyone else, not be

subject to laws and rules of potential random application or unclear meaning.”); see also Joy

Rep. (ECF No. 401-249) at 52 (“Courts and ethics authorities do not impose sanctions on or

discipline a lawyer or law firm when a legal or ethical duty is unclear.”).

       Although the best practice may have been for Labaton to make a fulsome disclosure to

the Court regarding the Chargois Agreement, its nondisclosure of the agreement did not violate

any ethical or procedural rule, nor did it violate a duty of candor.

       C.      Ethical Rules and Best Practices.

       This case concerns two distinct concepts: (1) the rules to which lawyers must adhere; and

(2) the conduct to which lawyers should aspire and strive. The first concerns a threshold,

codified in rules such as the MRPC and Rule 11, that represents the line between ethical conduct

and sanctionable misconduct. These rules establish the “floor” of permissible behavior. As

discussed above, Labaton complied with the applicable rules, and did not engage in unethical

misconduct. See Special Master’s Supplement to his Report and Recommendations and

Proposed Partial Resolution of Issues for the Court’s Consideration (ECF No. 485) at 5 (“The

Special Master finds, however, that the payment itself to Chargois did not violate the rules of

professional misconduct or constitute intentional misconduct.”).

       The second category concerns the spectrum of acceptable behavior above the “floor,”

ranging from the permissible, on the one hand, to best practices to which every attorney should

aspire, on the other. See Mass. R. Prof. C., Preamble § 1 (“A lawyer is a representative of

clients, an officer of the legal system, and a public citizen having special responsibility for the




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       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 38 of 39



quality of justice.”). As the Firm has stated, Labaton’s actions fell short of emerging best

practices.

       Looking forward, Labaton has learned much from this process, and it has made

significant internal changes in an effort to ensure that its conduct will comply with best practices.

See, e.g., ECF No. 485 at 6-8. This effort has included significant revision of Labaton’s

practices and policies regarding referral arrangements. See Labaton’s Memorandum in Support

of Proposed Partial Resolution of Issues (ECF No. 510). Additionally, following an extensive

historical review of the practices of Labaton Sucharow, Retired Judge Brown concluded that the

fee arrangement with Chargois & Herron was “unique and aberrational.” Labaton Sucharow’s

Amended Phase I Report of the Honorable Garrett E. Brown, Jr. (Ret.) (ECF No. 539-1) at 1.

Labaton understands that, as a fiduciary for the class, the Court’s focus is on Labaton’s conduct

in this specific case, rather than the reforms. Nevertheless, Labaton respectfully submits that its

sincere and meaningful efforts to improve merit consideration by the Court.

VII.   Conclusion.

       For the foregoing reasons, Labaton respectfully requests that the Court: (1) restore its

Order of a 25% fee award, particularly in light of the $4.8 million Customer Class Counsel have

paid to fund the Special Master’s investigation, and the additional $3.2 million Labaton has

incurred in defense costs; (2) reject HLLI’s baseless assertion that the Fitzpatrick Study was

misrepresented; (3) decline to allocate the fee award among counsel; and (4) conclude that

Labaton complied with all applicable ethical duties.




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       Case 1:11-cv-10230-MLW Document 579 Filed 07/17/19 Page 39 of 39



 Dated: July 17, 2019                            Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to all counsel of record on July 17, 2019.



                                                    /s/ Joan A. Lukey




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